MATERIALSSAFET DATASHEET Pade 1 of 10

PRODUCT
COREXIT® 9500

EMERGENCY TELEPHONE NUMBER(S)

. (800) 424-9300 (24 Hours) CHEMTREC

li. | CHEMICAL PRODUCT AND COMPANY IDENTIFICATION
PRODUCT NAME : COREXIT® 9500
APPLICATION : OIL SPILL DISPERSANT
COMPANY IDENTIFICATION : Naico Energy Services, L.P.
P.O. Box 87
Sugar Land, Texas
77487-0087
EMERGENCY TELEPHONE NUMBER(S) : (800) 424-9300 (24 Hours) CHEMTREC
NFPA 704M/HMIS RATING
HEALTH: 4/14 FLAMMABILITY: 1/4 INSTABILITY: 0/0 OTHER :
O=(nsignificant t= Slight 2 Moderate 3= High 4 = Extreme

|2. | COMPOSITIONANFORMATION ON INGREDIENTS

Our hazard evaluation has identified the following chemical substance(s) as hazardous. Consult Section 15 fer the
nature of the hazard(s), ,

Hazardous Substance(s) CAS NO Yo (wiw)
Distiiates, petroleum, hydrotreated light 64742-47-8 10.0- 30.0
Propylene Glycol 57-55-6 1.0- 5.0
Organic sulfonic acid salt Proprietary 10.0 - 30.0
13. | HAZARDS IDENTIFICATION

“EMERGENCY OVERVIEW

WARNING

Combustibte.

Keep away from heat. Keep away from sources of ignition - No smoking. Keep container tightly closed, Do not get
in eyes, on skin, on clothing. Do not take internally. Avoid breathing vapor. Use with adequate ventilation. in case
of contact with eyes, rinse immediately with plenty of water and seek medical advice. After contact with skin, wash
immediately with plenty of soap and water.

Wear suitable protective clothing.

Low Fire Razard; liquids may burn upon heating to temperatures at or above the flash point. May evolve oxides of
carbon (COx) under fire conditions. May evolve oxides of sulfur (SOx) under fire conditions.

PRIMARY ROUTES OF EXPOSURE :
Eye, Skin

HUMAN HEALTH HAZARDS - ACUTE :

EYE CONTACT :
May cause irritation with prolonged contact.

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Exhibit “C”
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“ee” COREXIT® 9500

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SKIN CONTACT :
May cause irritation with prolonged contact.

INGESTION :
Not a likely route of exposure. Can cause chemical pneumonia if aspirated into lungs following ingestion.

INHALATION :
Repeated or prolonged exposure may irritate the respiratory traci,

SYMPTOMS OF EXPOSURE :

Acuie :

A review of available data does not identify any symptoms from exposure not previously mentioned.
Chronic :

Frequent or prolonged contact with product may defat and dry the skin, leading to discomfort and dermatitis.

AGGRAVATION OF EXISTING CONDITIONS :
Skin contact may aggravate an existing dermatitis condition.

14. | FIRST AID MEASURES

EYE CONTACT : .
immediately flush with plenty of water for at least 15 minutes. If symptoms develop, seek medical advice.

SKIN CONTACT :
Immediately wash with plenty of soap and water. If symptoms develop, seek medical advice.

INGESTION :
Do not indtice vomiting: contains petroleum distillates and/or aromatic solvents. if conscious, washout mouth and
give water to drink. Get medical attention.

INHALATION :
Remove to fresh air, treat symptomatically. Get medical attention.

NOTE TO PHYSICIAN :
Based on the individual reactions of the patient, he physician's judgement should be used to contre! symptoms and
clinical condition.

|5. | FIRE FIGHTING MEASURES
FLASH POINT : 181.4 °F $83 °C (PMCC )
LOWER EXPLOSION LIMIF : Not flammable
UPPER EXPLOSION LIMIT : Not flammable

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EXTINGUISHING MEDIA :

Alcohol foam, Carbon dioxide, Foam, Dry powder, Other extinguishing agent suitabie for Class B fires, For large
fires, use water spray or fog, thoroughly drenching the burning material.

Water mist may be used to cool closed containers.

UNSUITABLE EXTINGUISHING MEDIA:
Do not use water unless flooding amounts are available.

FIRE AND EXPLOSION HAZARD :
Low Fire Hazard: liquids may burn upon heating to temperatures at or above the flash point. May evolve oxides of
carbon (CO) under fire conditions. May evolve oxides of sulfur (SOx) under fire conditions.

SPECIAL PROTECTIVE EQUIPMENT FOR FIRE FIGHTING :
In case of fire, wear a full face positive-pressure self contained breathing apparatus and protective suit.

6. | ACCIDENTAL RELEASE MEASURES

PERSONAL PRECAUTIONS :

Restrict access to area as appropriate until clean-up operations are complete. Stop or reduce any leaks if itis safe
fo do so. Ventilate spill area if possible. Do not touch spilled material. Remove sources of ignition. Have
emergency equipment (for fires, spills, leaks, etc.) readily available. Use personai protective equipment
recommended in Section 8 (Exposure Controts/Personal Protection}. Notify appropriate government, occupational
health and safety and environmental authorities.

METHODS FOR CLEANING UP :

SMALL SPILLS: Soak up spill with absorbent material. Place residues in a suitable, covered, properly labeled
container. Wash affected area. LARGE SPILLS: Contain liquid using absorbent material, by digging trenches or by
diking. Reclaim into recovery or salvage drums or tank truck for proper disposal. Clean contaminaied surfaces with
water or aqueous cleaning agents. Contact an approved waste hauler for disposal of contaminated recovered
material. Dispose of material in compliance with regulations indicated in Section 13 (Disposal Considerations).

ENVIRONMENTAL PRECAUTIONS :
Do not contaminate surface water.

17. | HANDLING AND STORAGE

HANDLING :
Use with adequate ventilation. Keep the containers closed when notin use. Do not take internally. Do not get in
eyes, on skin, on clothing. Have emergency equipment (for fires, spills, leaks, etc.) readily available.

STORAGE CONDITIONS :
Store away from heat and sources of ignition. Store separately from oxidizers, Store the containers tightly closed.

SUITABLE CONSTRUCTION MATERIAL :
Compatibility with Plastic Materials can vary; we therefore recommend that compatibility is tested prior to use.

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| 8. | EXPOSURE CONTROLS/PERSONAL PROTECTION

OCCUPATIONAL EXPOSURE LIMITS :
Exposure guidelines have not been established for this product. Available exposure limits for the substance(s) are
shown below.

ACGIM/TLYV :
Substance(s)
Oil Mist TWA; 5 mg/m3
STEL: 18 mg/m3

Propylene Glycol

OSHA/PEL :
Substance(s)
Oil Mist TWA: 5 mg/m3
STEL: 10 ma/m3
Propylene Glycol
AIHAMWEEEL :

Substance(s}

ENGINEERING MEASURES :
General ventilation is recommended.

RESPIRATORY PROTECTION :

Where concentrations in air may exceed the limits given in this section, the use of a half face filter mask or air
supplied breathing apparatus is recommended. A suitable filter material depends on the amount and type of
chemicals being handled. Consider the use of filter type: Multi-contaminant cartridge. with a Particulate pre-filter.
In event of emergency or planned entry into unknown concentrations a positive pressure, full-facepiece SCBA
should be used. If respiratory protection is required, institute a complete respiratory protection program including
selection, fit testing, training, maintenance and inspection,

HAND PROTECTION :
Nitrite gloves, PVC gloves

SKIN PROTECTION :
Wear standard protective clothing.

EYE PROTECTION :
Wear chemical splash goggles.

HYGIENE RECOMMENDATIONS :
Keep an eye wash fountain available. Keep a safety shower available. If clothing is contaminated, remove clothing
and thoroughly wash the affected area. Launder contaminated clothing before reuse.

HUMAN EXPOSURE CHARACTERIZATION :
Based on our recommended product application and personal protective equipment, the potential human exposure
is: Low

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19. | PHYSICAL AND CHEMICAL PROPERTIES
PHYSICAL STATE Liquid
APPEARANCE Clear Hazy Amber
ODOR Hydrocarbon
SPECIFIC GRAVITY 0.95 @ 60°F / 75.6 °C
DENSITY 7.97 Ib/gal
SOLUBILITY IN WATER Miscible
pH (100 %) 6.2
VISCOSITY 177 cps @ 32°F /0°C 7O0cps @ 60°F/15.6°C @ 104°F/40°C
VISCOSITY @ 32°F /0°C @ 60°F /15.6°C 22.5 cst @ 104 °F / 40°C
POUR POINT <-74 °F / <-87 °C
BOILING POINT 296 °F / 147 °C
VAPOR PRESSURE 15.5 mmHg @ 100 °F / 37.8 °C

Note: These physical properties are typical values for this product and are subject to change.

|70. | STABILITY AND REACTIVITY

STABILITY ;
Stable under normal conditions.

HAZARDOUS POLYMERIZATION -
Hazardous polymerization will not occur.

CONDITIONS TO AVOID:
Heat

MATERIALS TO AVOID:
Contact with strong oxidizers (e.g. chlorine, peroxides, chromates, nitric acid, perchlorate, concentrated oxygen,
permanganate) may generate heat, fires, explosions and/or toxic vapors.

HAZARDOUS DECOMPOSITION PRODUCTS :
Under fire conditions: Oxicles of carbon, Oxides of sulfur

|11. | TOXICOLOGICAL INFORMATION

No toxicity studies have been conducted on this pro¢luct.

SENSITIZATION :
This product is not expected to be a sensitizer.

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CARCINOGENICITY :

None of the substances in this product are listed as carcinogens by the International Agency for Research on
Cancer (IARC}, the National Toxicology Program (NTP) or the American Conference of Governmental Industrial
Hygienists (ACGIH).

HUMAN HAZARD CHARACTERIZATION :
Based on our hazard characterization, the potential human hazard is: Moderate

112. | ECOLOGICAL INFORMATION

ECOTOXICOLOGICAL EFFECTS :
The following results are for the product.

ACUTE INVERTEBRATE RESULTS :

Species Exposure LC50 EC50 Test Descriptor
Acartia tonsa 48 hrs 34 mg/l Product
Artemia 48 hrs 20.7 mg/l Product
MOBILITY :

The environmental fate was estimated using a level Ill fugacity model embedded in the EPI (estimation program
interface) Suite TM , provided by the US EPA. The model assumes a steady state condition between the total input
and output. The level Il] model does not require equilibrium between the defined media. The information provided is
intended to give the user a general estimate of the environmental fate of this product under the defined conditions of
the models. lf released into the environment this material is expected to distribute to the air, water and soil/sediment
in the approximate respective percentages;

Air Water Soil/Sediment
<5% 10 - 30% 50 - 76%

The portion in water is expected to float on the surface.

BIGACCUMULATION POTENTIAL
Component substances have a potential to bloconcentrate.

ENVIRONMENTAL HAZARD AND EXPOSURE CHARACTERIZATION

Based on our hazard characterization, the potential environmental hazard is: Low

Based on our recommended product application and the product's characteristics, the potential environmental
exposure is: Low

if released inio the environment, see CERCLA/SUPERFUND in Section 15.

[i3. | DISPOSAL CONSIDERATIONS

If this product becomes a waste, it could meet the criteria of a hazardous waste as defined by the Resource
Conservation and Recovery Act (RCRA) 40 CFR 261. Before disposal, it should be determined if the waste meets
the criteria of a hazardous waste.

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Hazardous Waste: DO18

Hazardous wastes must be transported by a licensed hazardous waste transporter and disposed of or treated in a
properly licensed hazardous waste treatment, storage, disposal or recycling facility. Consult local, state, and federal
regulations for specific requirements.

(14. | TRANSPORT INFORMATION

The information in this section is for reference only and should not fake the place of a shipping paper {bill of lading)
specific to an order. Please note thai the proper Shipping Name / Hazard Class may vary by packaging, properties,
and mode of transportation. Typical Proper Shipping Names for this product are as follows.

LAND TRANSPORT :
For Packages Less Than Or Equal To 119 Gallons:
Proper Shipping Name : PRODUCT IS NOF REGULATED DURING
TRANSPORTATION
For Packages Greater Than 119 Gallons:
Proper Shipping Name : COMBUSTIBLE LIQUID, N.O.S.
Technical Namef{s) : PETROLEUM DISTILLATES
UN/ID No : NA 1993
Hazard Class - Primary : COMBUSTIBLE
Packing Group : it
Flash Point: 83 °C / 184.4 °F
AIR TRANSPORT (ICAQHATA) :
Proper Shipping Name - PRODUCT IS NOT REGULATED DURING
TRANSPORTATION

MARINE TRANSPORT (IMDGAMO) :

Proper Shipping Name : PRODUCT IS NOT REGULATED DURING
TRANSPORTATION

115. | REGULATORY INFORMATION

NATIONAL REGULATIONS, USA:

OSHA HAZARD COMMUNICATION RULE, 29 CFR 1910.1200 :
Based on our hazard evaluation, the following substance(s) in this product is/are hazardous and the reason(s) is/are
shown below.

Distilates, petroleum, hydrotreated light : irritant
Propylene Glycol: Exposure Limit, Eye irritant
Organic sulfonic acid salt : Irritant

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CERCLA/SUPERFUND, 40 CFR 117, 302:
Notification of spills of this product is not required.

SARA/SUPERFUND AMENDMENTS AND REAUTHORIZATION ACT OF 1986 (TITLE Ill) - SECTIONS 302, 311,
312, AND 313:

SECTION 302 - EXTREMELY HAZARDOUS SUBSTANCES (40 CFR 355):
This product does not contain substances listed in Appendix A and B as an Extremely Hazardous Substance.

SECTIONS 311 AND 312 - MATERIAL SAFETY DATA SHEET REQUIREMENTS (40 CFR 370):
Our hazard evaluation has found this product to be hazardous. The product should be reported under the following
indicated EPA hazard categories:

x Immediate (Acute) Health Hazard

- Delayed (Chronic) Health Hazard

- Fire Hazard

- Sudden Release of Pressure Hazard
- Reactive Hazard

Under SARA 311 and 312, the EPA has established threshold quantities for the reporting of hazardous chemicals.
The current thresholds are: 500 pounds or the threshold planning quantity (TPQ), whichever is lower, for extremely
hazardous substances and 16,000 pounds for all other hazardous chemicals.

SECTION 313 - LIST OF TOXIC CHEMICALS (40 CFR 372):
This product does not contain substances on the List of Toxic Chemicals.

FOXIG SUBSTANCES CONTROL ACT (TSCA):
The substances in this preparation are included on or exempted from the TSCA 8(b) Inventory (40 CFR 710)

FEDERAL WATER POLLUTION CONTROL ACT, CLEAN WATER ACT, 40 CFR 401.15 / formerly Sec. 307, 40
CFR 116.4 / formerly Sec. 341:
None of the substances are specifically listed in the regulation.

CLEAN AIR ACT, Sec. 111 (40 CFR 60, Volatile Organic Compounds), Sec. 112 (40 CFR 61, Hazardous Air
Pollutants), Sec. 602 (40 CFR 82, Class | and il Ozone Depleting Substances) :
None of the substances are specifically listed in the regulation.

Substance(s) Citations

e Propylene Glycol Sec, 114

CALIFORNIA PROPOSITION 65 :
This product does not contain substances which require warning under California Proposition 65.

MICHIGAN CRITICAL MATERIALS :
None of the substances are specifically listed in the regulation.

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STATE RIGHT TO KNOW LAWS :
The following substances are disclosed for compliance with State Right fo Know Laws:

Propytene Glycol 57-55-6
NATIONAL REGULATIONS, CANADA :
WORKPLACE HAZARDOUS MATERIALS INFORMATION SYSTEM (WHMIS) :
This product has been classified in accordance with the hazard criteria of the Controlled Products Regulations

(CPR) and the MSDS contains all the information required by the CPR.

WHMIS CLASSIFICATION :
Not considered a WHMIS controlled product.

CANADIAN ENVIRONMENTAL PROTECTION ACT (CEPA) :
The substances in this preparation are fisted on the Domestic Substances List (DSL}, are exempt, or have been
reported in accordance with the New Substances Notification Regulations.

116. | OTHER INFORMATION

Due to our commitment to Product Stewardship, we have evaluated the human and environmental hazards and
exposures of this product. Based on our recommended use of this product, we have characterized the product's
general risk. This information should provide assistance for your own risk management practices. We have
evaluated our praduct's risk as follows:

* The human risk is: Low
* The environmenial risk is: Low

Any use inconsistent with our recommendations may affect the risk characterization. Our sales representative will
assist you to determine if your product application is consistent with our recommendations. Together we can
implement an appropriate risk management process.

This product material safety data sheet provides heaith and safety information. The product is to be used in
applications consistent with our product literature. Individuals handling this product should be informed of the
recommended safety precautions and should have access to this information. For any other uses, exposures should
be evaluated so that appropriate handling practices and training programs can be established to insure safe
workplace operations. Please consult your local sales representative for any further information.

REFERENCES

Threshold Limit Values for Chemical Substances and Physical Agents and Biological Exposure Indices, American
Conference of Governmental industrial Hygienists, OH., (Ariel Insight# CD-ROM Version), Ariel Research Corp.,
Bethesda, MD.

Hazardous Substances Data Bank, National Library of Medicine, Bethesda, Maryland (TOMES CPS# CD-ROM
Version}, Micromedex, Inc., Englewood, CO.

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iARC Monographs on the Evaluation of the Carcinogenic Risk of Chemicals to Man, Geneva: World Health
Organization, International Agency for Research on Cancer.

Integrated Risk Information System, U.S. Environmental Protection Agency, Washington, D.C. (TOMES CPS# CD-
ROM Version), Micramedex, inc., Englewood, CO.

Annual Report on Carcinogens, National Toxicology Program, U.S. Department of Health and Human Services,
Public Health Service.

Tile 29 Code of Federal Regulations, Part 1910, Subpart Z, Toxic and Hazardous Substances, Occupational Safety
and Health Administration (OSHA), (Ariei Insight# CD-ROM Version), Ariel Research Corp., Bethesda, MD.

Registry of Toxic Effects of Chemical Substances, National Institute for Occupational Safety and Health, Cincinnati,
OH, (TOMES CPS# CD-ROM Version}, Micromedex, Inc., Englewood, CO.

Ariel insight# (An integrated guide to industrial chemicals covered under major regulatory and advisory programs),
North American Module, Western European Module, Chemical inventories Module and the Generics Module (Ariel
Insight# CD-ROM Version), Ariel Research Corp., Bethesda, MD.

The Teratogen Information System, University of Washington, Seatile, WA (TOMES CPS# CD-ROM Version),
Micromedex, Inc., Englewood, CO.

Prepared By: Product Safety Department
Date issued: 06/14/2005
Version Number: 1.6

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